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UNITED STATES CCUD1 OF APFE/'LS
FOR DISTRICT OF COLumBIA CIRCOIT


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  Q p: P..ORAL ARGUMENT SCHEDULED JANURY 9, 2024
                      Case Ns. 23-3228


                    UNITED STATES COURT OF APPEALS
                  FOR THE DISTRICT OF COLUMBIA CIRCUIT


                             UNITED STATE OF AMERICA,

                                                            Appellee,



                                   DONALD J. TRUMP,

                                                   Appellant-Defendant



      On Appeal from the United States District Court for District of Columbia


                         BRIEF FOR AMICUS CURIAE
                      LAW PROFESSOR VICTOR WILLIAMS
                 IN SUPPORT OF APPELLANT DONALD J. TRUMP


Victor Williams,
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

Pursuant to D.C. Circuit Rule 28(a)(1), counsel certifies as follows:

A. Parties, Interveners, Amici. Parties are appellant-defendant Donald J. Trump

   and appellee United States of America. There are no known intervenors. In

   addition to this amicus filing supporting appellant Donald Trump, amici briefs

   supporting the government have been lodged by American Oversight; Former

   Government Officials and Constitutional Lawyers; and Former Officials in Five

   Republican Administrations. An amici brief, supporting neither party, was

   lodged by Former Attorney General Edwin Meece together with Law

   Professors Stephen Calabrese and Gary Lawson.

B. Ruling Under Review. The ruling under review is the Decision and

Order of the United States District Court for the District of Columbia in USA v.

Donald J. Trump, (Hon. Tanya S. Chutkan).

C. Related Cases. The appellant’s brief lists related cases.


Dated: January 2, 2024

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   CERTIFICATE AS TO NECESSITY OF SEPARATE AMICUS BRIEF


      Pursuant to D.C. Circuit Rule 29(d), the undersigned counsel certifies that

this separate brief is necessary as amicus curiae Professor Victor Williams offers

an alternative analysis with no other amicus brief lodged thus far supporting the

appellant.


Dated: January 2^2024

       jf Williams
Victor Williams




                                          Ml
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  STATEMENT OF AUTHORSHIP AND FINANCIAL CONTRIBUTION

      This brief is offered by amicus as an individual. Any institutional affiliation

is noted for identity purposes only. No party’s counsel authored this brief in whole

or in part, and no party, nor other person, contributed money intended to fund the

preparation or submission of this brief.




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                   STATEMENT OF IDENTITY, INTEREST
                      AND AUTHORITY OF AMICUS

      With over thirty years experience in the field of constitutional law, amicus

Victor Williams has served as a law professor and attorney. Amicus has held

appointments at the City University of New York’s John Jay College of Criminal

Justice, Catholic University of America’s Columbus School of Law, and the

University of Maryland’s Casey Law School. Professor Williams has researched

and widely published including in the areas of constitutional law, presidential

selection, and the federal appointments process. Amicus’s published scholarship

and commentary has offered support for the appointment prerogatives of five

presidents (without regard to their party affiliation). From late 2015 to present.

Professor Williams has been a zealous supporter of Donald J. Trump and his

America First movement including founding “Law Professors for Trump.”

Williams has authored numerous amicus curiae briefs, academic essays, and

popular opinion pieces supporting Trump and his administration’s policies.

Williams is most recently Founder and Senior Counsel of the Article II Project. In

support of appellant-defendant Trump, amicus now submits this brief together with

a timely Motion requesting leave of the Court to appear as amicus. Counsel for

appellant Donald J. Trump consented to the filing of this amicus brief however

counsel for the appellee United States did not respond to a request.
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                                     ARGUMENT

       Amicus Professor Victor Williams fully supports appellant Donald J.

Trump’s arguments that official-act presidential immunity and double-jeopardy

prohibitions shield him from all criminal allegations brought below by the

Department of Justice’s “Special Counsel” Jack Smith.


       Amicus reminds that the 1787 Constitutional Convention delegates rejected

 a proposal that the President be chosen by the national legislature for a single,

 seven year term. Our Republic’s Framers also rejected the idea that the President

be elected by a national popular vote. Ultimately, the Framers crafted a peculiar

 selection process (decidedly not a national popular election) by which free-agent

 electors in each state (chosen directly by state legislatures or by an electoral

 method designed by each state legislature) would first have opportunity to select

 the President. And, if a majority of those electors fail in their selection duties then

 the national legislature makes the selection. In such a congressional default

 selection process, as refined by the Twelfth Amendment, the U.S. House, voting in

 state delegations, chooses the President and the U.S. Senate choses the Vice

 President. See Clinton Rossiter and Richard B. Morris, 1787:The Grand

 Convention (1987). The complicated, peculiar nature of the selection process

 was manifest as late as 2020 when the U.S. Supreme Court sought to avoid
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“chaos” by curbing free-agent elector discretion. See Chiafalo v. Washington, 140

S. Ct. 2316(2020).


       Most relevant to the issue of presidential immunity: The 1787 Constitution

allows not a single seven year term but multiple four-year terms. Our

Constitution’s text thus charges the incumbent President to faithfully safeguard the

complicated legal regimes and constitutional processes that govern his/her very

own presidential reselection. If such dichotomy presents a conflict of interest, it is

the Constitution’s textual that conflict to allows an incumbent President to seek

reselection.


       President Donald Trump was thus fulfilling his take care duties in this

complicated, peculiar constitutional sphere: 1. When exposing the illegalities and

irregularities of certain state elector selection processes: 2. When advocating for

the prudence of presenting alternative slates of electors in those certain states; 3.

When exploring direct state legislature elector appointments in those certain states;

4. When schooling his own Vice President and the public-at-large about the

 January 6, 2020 congressional electoral-slate certification processes; and 5. When

preparing for the possibility of a contingent U.S. House selection process.

       Donald Trump’s actions and movements faithfully executing the law and

 our Constitution’s peculiar presidential selection scheme were made as official acts
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 of the Executive and thus fell squarely within inherent presidential immunity

 protection. See Nixon v. Fitzgerald, 457 U.S. 731 (1982).

       Appellant’s acquittal in a subsequent Senate impeachment trial resulting

 from partisan U.S. House mischaracterizations of these same official-act, take-care

 activities reinforces that immunity understanding and adds a double-jeopardy

 protection. President Trump was faithfully executing the law while he was at the

 same time assertively seeking reselection by our complicated constitutional

 selection processes. Appellant was judged by the Senate sitting as the nation’s

 High Court of Impeachment to have not committed any criminal wrongdoing.

       It is hard not to view the prosecution below as just another partisan

 mischaracterization of appellant conduct as wrongful - using any means necessary.

 It was recently revealed that Jack Smith appropriated and would at trial exploit

 President Donald Trump’ smart phone data fi*om when our Commander-in-Chief

 was still in office. See Jeff Mordock, Seizure of Trump’s Smart Phone Puts

 Special Counsel in Uncharted Water, Wash. Times (Dec. 29,2023).

       In contrast with certain amici arguments made on behalf of appellee, amicus

 Williams emphasizes that the Executive Vesting Clause bolsters, rather than

 undercuts, appellant Trump’s immunity arguments. U.S. Const, art. II, § 1 cl. 1.

 Neither the state popular election results in early November 2020 nor the state-by-
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 state meeting of electors in mid December 2020 diminished Donald J. Trump

 presidential powers or his inherent presidential immunities. Nor did the

 Congress’s January 6,2021 elector certification proceedings diminish those

 powers or immunities. All executive responsibilities and immunities were vested in

 one person - Donald J. Trump - until noon January 20, 2021 triggered a peaceful

 transfer of power. Id. amend. XX, § 1.

       Certain appellee supporting amici present a parade of horribles fantasizing

 about a future President abusing presidential immunity to remain in office past

 his/her four year term. These hypotheticals are strangely overstated. Similarly,

 these amici descriptions of appellant’s official actions as foul crimes and as threats

 to democracy border on the absurd. Manifestations of “Trump derangement

 syndrome” may have become standardized in American public intellectual

 discourse but they are not reasoned legal analysis. Even when such pathology

 emanates from ex-administration officials or a former U.S. Solicitor General, it is

 to be discounted for what it is.

       As a related, threshold matter, amicus must also respectfully raise the

 inconvenient constitutional truth that the underlying criminal prosecution is itself

 illegitimate as private citizen Jack Smith does not hold a valid appointment to

 speak for, or act on behalf of, the U.S. Department of Justice (DOJ). The instant
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 appeal presents opportunity for this Court to revisit it’s anemic and erroneous

 analysis in In Re Grand Jury Instructions, 916 F.3d 1047 (D.C. Cir. 2018).

       For the past 13 months, Jack Smith has asserted the authority, independence,

 and unchecked power of an “Uber-U.S. Attorney” - one with national jurisdiction

 and prosecutorial responsibility significantly greater than that of a presidentially-

 appointed Untied States Attorney. See Kimberly Strassell, The Unprecedented

 Jack Smith, WALL. St. J. (August 23,2023).

       Yet Congress has never created and the President has never appointed (with

 ordinary Senate confirmation or by unilateral recess commission) any such officer.

 Indeed, there is no federal statute to be found creating the office or authorizing the

 appointment of any such Uber-U.S. Attorney titled “Special Counsel.”

       General Garland may, through DOJ managerial protocols and departmental

 regulations, legitimately task a presidentially-appointed U.S. Attorney to certain

 special counsel duties with national jurisdiction. General Garland may use such

 departmental regulations to hire special counsel assistants to work under a

 presidentially-appointed U.S. Attorney. However, a mere departmental regulation

 can not create a stand-alone, Uber-U.S. Attorney office with the independence and

 authority exercised by Jack Smith. And General Garland certainly heralds both

 Jack Smith’s independence and authority. See Sadie Gurman, Alex Leary, and
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 Deborah Acosta, Merrick Garland Defends Special Counsel’s Independence in

 Trump Case, WALL Sx. J., June 14,2023. In furtherance of this argument. Amicus

 Williams references this Court to the quite thorough amici brief, supporting neither

 party, lodged in this action by Professors Calabresi and Lawson joined by former

 Attorney General Edwin Meese.

                                      CONCLUSION

       This Court should accept appellant’s immunity and double-jeopardy

 protection arguments for immediate dismissal of the criminal prosecution below.

 This Court should rule that Jack Smith’s purported appointment as an “Uber-U.S.

 Attorney” was unconstitutional; private citizen Jack Smith acts without legal

 authority.


 Dated: January 2,2024

      Ixor Williams
  ^ctor Williams
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                      CERTIFICATE OF COMPLIANCE
 1. This brief complies with the type-volume requirement of Federal Rule of

 Appellate Procedure 29(d) because this brief contains 1846 words, as determined

 by the word-count function of Microsoft Word, excluding the parts of the brief

 exempted by Federal Rule of Appellate Procedure 32(a)(7)(B)(iii) and D.C Circuit

 Rule 32(a)(1); and

 2. This brief complies with the typeface requirements of Federal Rule of Appellate

 Procedure 32(a)(5) and the type style requirements of Federal Rule of

 Appellate Procedure 32(a)(6) because this brief has been prepared in a

 proportionally spaced typeface using Microsoft Word in 14-point Times New

 Roman font.

 Dated: January'2^024

    T0:ot Williams
 Victor Williams
                          CERTIFICATE OF SERVICE

  I hereby certify that January 2,2024,1 filed the foregoing through the US Postal

 Service in hard copy as a pro se filer (having found the ECF system unavailable to

 me) I further certify that parties are served today through the US Postal Service.

 Dated this 2nd Day of January, 2024.

        or Williams
   ictor Williams
